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 9
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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
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13   INTERNATIONAL TECHNOLOGICAL          )    Case No: 18-06228 EJD
     UNIVERSITY FOUNDATION, INC.,         )
14                                        )    [PROPOSED] ORDER GRANTING
                      PLAINTIFF,          )    DEFENDANTS’ MOTION TO DISMISS
15                                        )
          V.                              )    Date: April 11, 2019
16                                        )    Time: 9:00 a.m.
     KIRSTJEN M. NIELSEN, IN HER OFFICIAL )    Courtroom: Courtroom 4, 5th Floor
17   CAPACITY AS SECRETARY OF THE         )    Judge: Hon. Edward J. Davila
     DEPARTMENT OF HOMELAND               )
18   SECURITY, UNITED STATES OF
     AMERICA, UNITED STATES
19   DEPARTMENT OF HOMELAND
     SECURITY, UNITED STATES
20   IMMIGRATION AND CUSTOMS
     ENFORCEMENT, STUDENT EXCHANGE
21   AND VISITOR PROGRAM, AND DOES 1
     THROUGH 10, INCLUSIVE,
22        Defendants.

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     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
     18-6228 EJD
             Case 5:18-cv-06228-EJD Document 27-1 Filed 12/17/18 Page 2 of 2




 1          On April 11, 2019, the Defendants’ Motion to Dismiss came on regularly for hearing. Having

 2 considered the pleadings, papers on file, supporting evidence, and the parties’ arguments, and finding

 3
     just cause, the Court GRANTS Defendants’ motion to dismiss.
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     IT IS SO ORDERED.
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     DATED:
 6                                                      HONORABLE EDWARD J. DAVILA
                                                        United States District Judge
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     [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS
      18-6228 EJD                           1
